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                       EMMET, MARVIN & MARTIN, LLP
                                  COUNSELLORS AT LAW
                                                                                                   John Dellaportas
                                   120 Broadway 32nd Floor                                                  Partner
                                 New York, New York 10271                                         Tel: 212-238-3092
                                        212-238-3000                      Fax: 212-238-3100 Fax (alt.) 212-406-6953
                                                                                     jdellaportas@emmetmarvin.com
                                   www.emmetmarvin.com

September 17, 2021

Via ECF
Honorable James J. Garrity, Jr.
U.S. Bankr. Ct. for the Southern Dist. of N.Y.
One Bowling Green
New York, NY 10004
               Re:    Piazza v. Oldner, et al., Adv. Pro. No. 21-01180 (JLG)
                      In re Orly Genger, Chapter 7 Case No. 19-13895 (JLG)
Dear Judge Garrity:

       This firm represents Sagi Genger in connection with the above-referenced adversary
proceeding. We write in response to yesterday’s letter (Doc. 6) from Mr. Cavaliere, counsel to
the Chapter 7 Trustee, in which he opposes an adjournment of the adversary proceeding.

       In his letter, Mr. Cavaliere writes that: “That action seeks to void the purported releases
… [which] expressly state that they release all claims of OGT’s ‘beneficiary’ – that is, Debtor’s
claims against them.” Mr. Cavaliere further writes that: “Sagi himself, moreover, admitted in
sworn testimony that he asked for the releases precisely because he wanted OGT to ‘close out’
Orly’s claims against him and their mother.” (Emphasis in original letter.)

        It is an ongoing frustration that the Chapter 7 Trustee and her counsel refuse to acquaint
themselves with the most basic facts of this case. Here, it is undisputed that the dismissed state
court claims to which the aforementioned testimony refers (and for which Orly’s right to appeal
has subsequently expired) were derivative claims brought not by Orly in her own stead but rather
expressly on behalf of D&K Limited Partnership and the Orly Genger 1993 Trust, each of which
is a separate estate over which the Chapter 7 estate has no control.

        Indeed, the Appellate Division, First Department held, in a prior appeal in the same case,
that those claims were “derivative claims that plaintiff asserts on behalf of Orly Trust.”
Genger v. Genger, 120 A.D.3d 1102, 1104 (1st Dep’t 2014) (emphasis added). Subsequently, at
the 2016 trial in that same action (which trial Orly went on to lose), her counsel, Michael Bowen,
had the following exchange with the bench:

       THE COURT:         As I understand it the plaintiff in this case is seeking money
                          on behalf of the trust and derivatively on … on behalf of
                          the corporation. …

       MR. BOWEN:         That’s correct, Judge. (Exh. A.)


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         As a matter of black-letter law, the trustee of a trust may settle or release claims that the
trust owns without violating the automatic stay, even if the debtor is a beneficiary. In In re
Markel, 2001 WL 182579, *1 (Bankr. M.D. Fla. Sept. 5, 2001), for example, a debtor moved to
enjoin the trustee of a non-spendthrift trust, to which the debtor was a beneficiary, from settling a
litigation because that “the Trust property is part of his bankruptcy estate, and the automatic stay
prevents the trustee from settling the Claim.” The Bankruptcy Court disagreed and rejected the
debtor’s motion, first explaining that: “Trust interests are not property of a Debtor's estate when
the trust has a valid spendthrift provision.” Id. at *2.

       As the Court further explained, even in a non-spendthrift trust:

       Section 362(a)(3) … imposes an automatic stay upon “any act to obtain
       possession of property of the estate or of property from the estate or to exercise
       control over property of the estate.” … The Debtor’s one-third remainder interest
       in the Trust res is property of the Debtor’s estate, and not the actual property
       composing the Trust, i.e., the Claim. The automatic stay applies only to property
       of the estate. … The trustee may settle the Claim because it constitutes the res of
       the Trust and not the Debtor’s remainder interest in the Trust.

2001 WL 182579 at *2 (emphasis added). Here, Orly’s interest in her spendthrift trust is not
property of the Debtor’s estate. Even if it were, the derivative claims she brought against Sagi
on behalf of that trust are property of the trust and not the Chapter 7 estate, and consequently its
trustee, Mr. Oldner, may settle or release those claims.

        In sum, the Debtor’s adversary proceeding is completely frivolous, as it is premised on a
legal theory that is not warranted by existing law nor by a nonfrivolous argument for reversing
existing law, but rather is brought in disregard of a controlling First Department ruling. As such,
it would be counterproductive to divert the Court’s attention with this proceeding while far more
important motions in this bankruptcy case are sub judice.

       We thank the Court for its consideration.
                                                      Respectfully,


                                                      John Dellaportas
cc:    All Counsel of Record (via ECF)
